Case 2:04-CV-02489-BBD-STA Document 23 Filed 07/11/05 Page 1 of 7FP

 

BY
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT oF TENNESSEE l 1 2m5
WESTERN DIVISION Tho¢¢_ n m ll
) w. o- GM mm
MICHAEL WILLIAMS, m l "
Plaintiff,
NO. 04-2489-D/An

VS.

SHELBY COUNTY GOVERNMENT, et al., _

\_/\-/M-/V\-/\.¢\_¢"\_¢\/\./

Defendants.

 

ORDER GRANTING DEFENDANTS’
MOTION FOR SUMMARY JUDGMENT (Dkt. # 15)

 

Before the Court is the motion of Defendants Shelby County Government, Hope
Rogers-Fleming, David Barber, George Little, C. Holmes, D. Webb, Jett, Primis Brewer, Mathis,
and Chief Long (collectively “Defendants”') to dismiss or, altematively, for summary judgment2
For the reasons set forth herein, Defendants’ motion for summary judgment is GRANTED.

I. FACTS

PlaintiffMichael Williams (“Plaintiff”), a pro se litigant, Was incarcerated at Shelby County

Division of Corrections (“SCDC”) in Shelby County, Tennessee, on May 5, 2004. The SCDC is a

correctional facility owned and run by the Shelby County Govemment, a county municipal entity in

 

l'I'he names of all Defendants were taken literatim from Plaintiff’s Complaint.

2Plai;ntif’f did not submit a response to Defendants’ motion filed March 3, 2005.

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Case 2:04-cV-O2489-BBD-STA Document 23 Filed 07/11/05 Page 2 of 7 Page|D 16

the State of Tennessee.3 The individual Defendants are all management-level employees with SCDC
Food Service.

On May 8, 2004, Plaintiff asserts that an SCDC medical personnel evaluated him, approved
his dietary request for vegetarian meals, and issued him a “special diet slip.” According to Plaintiff,
a copy of the special diet slip was forwarded to the SCDC Food Service, and he was advised to keep
the original special diet slip on his person.

On June 10, 2004, Plaintiff completed and submitted a SCDC Division of Correction E-
Building Inmate Informal Complaint (“informal complaint”). In the informal complaint, Plaintiff
expressed concern about the “vegetarian meal” he was given for dinner. While at the SCDC, no
special vegetarian meal was made for Plaintiff, only the non~meat portions of the standard meal were
given to him. Plaintiff submitted numerous informal complaints to the SCDC. Plaintiff asserts that
since his SCDC detention, he has lost Weight, suffered gastric discomfort, and incurred mental
anxiety. Plaintiff sues SCDC as an entity of a municipal government, and the remaining Defendants,
individually, and in their official capacity.

II. LEGAL STANDARD4

Summary judgment is proper “if the pleadings, depositions, answers to interrogatories, and
admissions on file, together with the affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(0). In other words, summary j udgrnent is appropriately granted “against a party who fails to make

 

3 Plaintiff names the SCDC as Defendant, but the appropriate party is the Shelby County Govermnent.
4Defendants’ motion was for dismissal under Fed. R. Civ. P. 12(b)(6) or, alternatively, for summary

judgment under Fed. R. Civ. P. 56. The Court has considered Defendants’ motion as one for summary judgment for
purposes of this Order. Accordingly, the Court has taken into consideration the entire written record in its analysis

2

Case 2:04-cV-O2489-BBD-STA Document 23 Filed 07/11/05 Page 3 of 7 Page|D 17

a showing sufficient to establish the existence of an element essential to that party’s case, and on
which that party will bear the burden of proof at trial.” Celotex Co;p. v. Catrett, 477 U.S. 317, 322,
106 S.Ct. 2548, 91 L.Ed.2d 265 (1986).

The party moving for summary judgment may satisfy its initial burden of proving the absence
of a genuine issue of material fact by showing that there is a lack of evidence to support the
nonmoving party’s case. E. at 325 . This in turn may be accomplished by submitting affirmative
evidence negating an essential element of the nonmoving party’s claim, or by attacking the
opponent’s evidence to show why it does not support a judgment for the nonmoving party. 10a
Charles A. Wright et al., Federal Practice and Procedure § 2727, at 35 (Zd ed. Supp. 1996).

Facts must be presented to the court for evaluation Kalarnaz___MS_tu_d\Miu
Rockwell Int’l, 171 F.3d 1065, 1068 (6th Cir. 1998). The court may consider any material that
would be admissible at trial. 10a Charles A. Wright et al., MM@L § 2721,
at 40 (2d ed. 1983). Although hearsay evidence may not be considered on a motion for summary
judgment, MMM, 176 F.3d 921, 927 (6th Cir.
1999), evidentiary materials presented to avoid summary judgment otherwise need not be in a form

that Would be admissible at trial. Celotex, 477 U.S. at 324, 106 S.Ct. at 2553; Thaddeus-X v.

 

Blatter, 175 F.3d 378, 400 (6th Cir. 1999).

 

In evaluating a motion for summary judgment, all the evidence and facts must be viewed in
a light most favorable to the non-moving party. Matsushita Elec. Indus. Co. v. Zenith Radio Co;p.,
475 U.S. 574, 587, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986); Walbourn v. Erie Count_v Care Facili;v,
150 F.3d 584, 588 (6th Cir. 1998). Justifiable inferences based on facts are also to be drawn in favor

of the non-movant Kalamazoo River, 171 F.3d at 1068.

Case 2:04-cV-O2489-BBD-STA Document 23 Filed 07/11/05 Page 4 of 7 Page|D 18

Once a properly supported motion for summary judgment has been made, the “adverse party
may not rest upon the mere allegations or denials of [its] pleading, but . . . must set forth specific
facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e). A genuine issue for trial
exists if the evidence would permit a reasonable jury to return a verdict for the non-moving party.
Anderson v. Liberty Lobby, lnc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). To
avoid summary jud gment, the non-moving party “must do more than simply show that there is some
metaphysical doubt as to the material facts.” Matsushita, 475 U.S. at 586.

III. ANALYSIS

Plaintiff asserts violations of his constitutional rights by Defendants pursuant to 42 U.S.C.
§ 1983. 'I`itle 42 of the United States Code, section 1983 states in pertinent part;

Every person who, under color of any statute, ordinance, regulation, custom, or

usage, of any State . . . subjects, or causes to be subjected, any citizen of the United

States or other person within the jurisdiction thereof to the deprivation of any ri ghts,

privileges, or immunities secured by the Constitution and laws, shall be liable to the
party injured in an action at law, suit in equity, or other proper proceeding for redress.

42 U.S.C. § 1983. A municipal liability claim against a government entity must be examined by
applying a two-pronged inquiry: (l) whether the plaintiff has asserted the deprivation of a
constitutional right at all; and (2) whether the defendant is responsible for that violation. A

municipality may only be liable for a constitutional tort when the action occurred pursuant to a

municipal policy, practice, or custom. Doe v. Claibome Countv, Tennessee, 103 F.3d 495, 505-06

(6th Cir. 1996). Leatherrnan v. Tarrant County Narcotics Intelligence & Coordination Unit, 507 U.S.

163, 167-69 (1993). Either an affirmative policy or a policy of inaction can suffice to support

municipal liability. Claibome Count_;y, Tennessee 103 F.3d at 508. To state a claim for municipal

Case 2:04-cV-O2489-BBD-STA Document 23 Filed 07/11/05 Page 5 of 7 Page|D 19

liability under “inaction” theory in a federal civil rights action, a plaintiff must establish (l) the
existence of a clear and persistent pattern of activity by municipal employees, (2) notice or
constructive notice on the part of the municipality, (3) tacit approval by the municipality of
unconstitutional conduct such that its deliberate indifference in its failure to act can be said to
amount to an official policy of inaction, and (4) that the municipality’s custom was the moving force
or direct causal link in the constitutional deprivation 42 U.S.C. § 1983; se_e, gg:, Claibome County,
Tennessee, 103 F.3d at 508.

In the case at bar, Defendants assert that Plaintist claim of a right to obtain vegetarian
meals for a non-medical and non-religious purpose does not amount to a constitutional right under
42 U.S.C. § 1983. The SCDC manual given to inmates states in relevant part:

The Division provides you with a healthy, nutritious diet. Food Services (sic) plan

a six [6]week menu. . . . Special diets are prepared as needed for medical or religious
reasons. Food Services will provide vegetarian diets if requested

Plaintiff does not assert a medical reason or religious reason for his special meal request. Plaintiff
contends that the 11 named employees of the SCDC inadequately complied with his request for a
vegetatian meals pursuant to his having received a special diet slip. All of Plaintiff s claimed health
problems were subsequent to his relying on non-meat portions of the standard meals for his physical
sustenance.

The Eighth Amendment “‘does not mandate comfortable prison conditions,’ . . . and only
those deprivations denying the minimal civilized measure oflife’s necessities, are sufficiently grave”
to state a cognizable section 1983 claim based on the Eighth Amendment. Wilson v. Seiter, 501 U.S.
294, 298 (1991). Absent religious or medical circumstances, a prisoner does not have a right to a

specialized diet while incarcerated § Word v. Croce, 169 F. Supp.2d 219, 226 (S.D.N.Y. 2001)

Case 2:04-cV-O2489-BBD-STA Document 23 Filed 07/11/05 Page 6 of 7 Page|D 20

(g,@t_i_r_rg Maulding v. Peter , 1995 WL 461914 (N.D. Ill. 1995)).

The Court finds that Plaintiff holds no constitutional right to the requested special diet and
that Defendants’ inaction does not rise to the level of deliberate indifference required to state an
Eighth Amendment claim. In fact, Plaintist commissary receipt lists a number of purchases of
“beef soup” and “cajun soups.” The Court finds that the record taken in its entirety does not create
a genuine issue of material fact as to Plaintiffs § 1983 claim.

IV. CONCLUSION
For the aforementioned reasons, the Court GRANTS Defendants’ motion for summary

judgment

IT IS SO ORDERED this ¢[ k day of July, 2005.

 

U ITED STATES DISTRICT JUDGE

 

TRICT COURT - WESTERNDT"ISIC oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CV-02489 was distributed by fax, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

